O AO 247 (N C/W 11/11) O rder Regarding M otion for Sentence R eduction



                                       U NITED STATES D ISTRICT C OURT
                                                                          for the
                                                        Western District of North Carolina

                     United States of America                               )
                                v.                                          )
                   W ILLIAM JUNIOR JACOBS                                     Case No:    3:03CR36-1
                                                                            )
                          a/k/a "Boogie"                                      USM No:     11427-058
                                                                            )
Date of Original Judgment:     October 27, 2004
                                                                            )
Date of Last Amended Judgment: July 27, 2009                                  Thomas Cochran
                                                                            )
                                                                                Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
        DENIED .    GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of        is reduced to

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Original Offense Level:    37                  Amended Offense Level:     35
Criminal History Category: VI                  Criminal History Category: VI
Original Guideline Range:  420* months to life Amended Guideline Range: 352* to 425* months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing and the reduced sentence is comparably less than the amended guideline range.
 The reduced sentence is above the amended guideline range.
 Other (explain):  The application of Amendment 750 provides no change in the guideline calculations in this case.
                    *The guideline range includes the 60 month consecutive sentence for a conviction of 18 U.S.C. §
                    924(c).



III. ADDITIONAL COMMENTS
**The defendant is serving a consecutive sentence of 180 months in Count Two for violations of 18 U.S.C. §§
922(g) and 924(e), as well as a 60 month consecutive sentence in Count Eleven for a violation of 18 U.S.C. §
924(c). The total term of imprisonment of 240 months custody was ultimately unchanged by Amendment 706.

Except as provided above, all provisions of the judgment dated                      October 27, 2004,     shall remain in effect.
IT IS SO ORDERED .

Order Date:          August 29, 2012


Effective Date:
                       (if different from order date)


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